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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                OXFORD DIVISION


STARLET KIZER                                                                           MOVANT

V.                                                                           NO. 3:10cr163-SA

UNITED STATES OF AMERICA                                                          RESPONDENT


                          ORDER TRANSFERRING CASE TO THE
                           FIFTH CIRCUIT COURT OF APPEALS

       This matter comes before the Court, sua sponte, for consideration of the transfer of this

cause. Movant, Starlet Kizer, has filed a pleading titled “Motion in Support of 28 U.S.C. §

2255(e),” in which she claims an entitlement to § 2255 relief based upon the holding of Johnson

v. United States, 135 S. Ct. 2251 (2015), which struck down the residual clause of the Armed

Career Criminal Act as unconstitutionally vague. Doc. #233. Kizer has already filed one

unsuccessful § 2255 motion concerning the same judgment which she now seeks to challenge.

See Doc. # 197 (final judgment denying § 2255 motion).

       The Antiterrorism and Effective Death Penalty Act requires that an applicant seeking to

file a second or successive motion first be certified by a panel of the appropriate court of appeals.

See 28 U.S.C. § 2255(h); see also 28 U.S.C. § 2244(b)(3)(A). Kizer has not obtained such an

order. Rather than dismissing the petition on this basis, the Fifth Circuit has allowed district

courts to transfer the petition for consideration pursuant to 28 U.S.C. § 2244(a) and (b)(3)(C).

See In re Epps, 127 F.3d 364, 365 (5th Cir. 1997). Therefore, in the interest of justice and

judicial economy, it is hereby ORDERED:

       1) That this petition shall be transferred to the Fifth Circuit Court of Appeals for

Richardson to seek permission to file this successive § 2255 petition;
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       2) That the Clerk of Court is directed to transfer this petition and the entire record to the

Fifth Circuit Court of Appeals in accordance with 28 U.S.C. § 2244(a) and (b)(3)(C), and In re

Epps, 127 F.3d at 365; and

       3) That this case is CLOSED.


       SO ORDERED this the 7th day of June, 2016.

                                                      /s/ Sharion Aycock
                                                      U.S. DISTRICT JUDGE
